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 5

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   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:18-CR-066-2 TLN
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           [PROPOSED] FINDINGS AND ORDER
14   ROCKY GORDON,                                       DATE: May 11, 2018
                                                         TIME: 2:00 p.m.
15                                Defendant.             COURT: Hon. Allison Claire
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.      The defendant was arraigned on the Indictment on May 4, 2018.

21          2.      At that time, he entered a not guilty plea, demanded a jury trial, and requested that the

22 detention hearing be continued until May 11, 2018. The parties agreed to a time exclusion until May 11,

23 2018.

24          3.      By this stipulation, the parties now move to continue the detention hearing to May 14,

25 2018, and to exclude time between May 11, 2018, and May 14, 2018, under Local Code T4.

26          4.      The parties agree and stipulate, and request that the Court find the following:

27                  a)     Discovery associated with this case includes about 820 pages of reports,

28          photographs, and recordings. Since the defendant’s arraignment, the government has produced


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 1          all of this discovery directly to counsel.

 2                  b)     Counsel for defendant desires additional time to consult with his client and to

 3          review discovery.

 4                  c)     Government counsel is unable to attend the detention hearing currently scheduled

 5          for May 11, 2018. However, May 14, 2018, is a mutually agreeable date.

 6                  d)     Counsel for defendant believes that failure to grant the above-requested

 7          continuance would deny him/her the reasonable time necessary for effective preparation, taking

 8          into account the exercise of due diligence.

 9                  e)     Based on the above-stated findings, the ends of justice served by continuing the

10          case as requested outweigh the interest of the public and the defendant in a trial within the

11          original date prescribed by the Speedy Trial Act.

12                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

13          et seq., within which trial must commence, the time period of May 11, 2018 to May 14, 2018,

14          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

15          because it results from a continuance granted by the Court at defendant’s request on the basis of

16          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

17          of the public and the defendant in a speedy trial.

18          5.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

19 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

20 must commence.

21          IT IS SO STIPULATED.

22

23
     Dated: May 9, 2018                                       MCGREGOR W. SCOTT
24                                                            United States Attorney
25
                                                              /s/ AMANDA BECK
26                                                            AMANDA BECK
                                                              Assistant United States Attorney
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28
     Dated: May 9, 2018                                       /s/ DAN OLSEN
      STIPULATION REGARDING EXCLUDABLE TIME               2
      PERIODS UNDER SPEEDY TRIAL ACT
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                                                  DAN OLSEN
 1                                                Counsel for Defendant
 2                                                ROCKY GORDON

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 5
                                [PROPOSED] FINDINGS AND ORDER
 6
          IT IS SO FOUND AND ORDERED this 9th day of May, 2018.
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     STIPULATION REGARDING EXCLUDABLE TIME    3
     PERIODS UNDER SPEEDY TRIAL ACT
